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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                 SOUTHERN DIVISION

AMERICAN FEDERATION OF                        Case No. 8:25-cv-00430
TEACHERS, et al.,

             Plaintiffs,

      vs.

SCOTT BESSENT, et al.,

             Defendants.

                   DECLARATION OF DONALD MARTINEZ
                     IN SUPPORT OF MOTION FOR TRO

I, Donald Martinez, declare as follows:

1.​ I am over the age of 18 and have personal knowledge of the facts in this
    declaration.

2.​ I live in Colorado and currently work as a chicken and goat rancher.

3.​ I am a military veteran. I served in the U.S. Army and had two deployments to
    Iraq as a Field Artillery Officer with a Top Secret/Sensitive Compartmented
    Information security clearance. During my service, I sustained a traumatic brain
    injury and was medically retired.

4.​ I currently receive financial benefits from the federal government, including
    veterans’ disability compensation, combat-related special compensation, and a
    home loan from the Veterans Administration, as well as social security
    disability insurance from the Social Security Administration.

5.​ I have previously received other financial benefits from the federal government,
    including student loans from the Department of Education and vocational
    rehabilitation and employment payments from the Veterans Administration.

6.​ Apart from my military service, I also worked for the Federal Emergency
    Management Agency as a Presidential Management Fellow.



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7.​ As a result of my military service, employment in the civil service, and the
    financial benefits I receive, federal government agencies, including the Office
    of Personnel Management, the Department of Education, and the Department of
    Treasury, have sensitive personal information about me in their record systems.

8.​ At the Office of Personnel Management, this information includes my social
    security number, employment history, address, phone number, demographic
    information. At the Department of Treasury, this information includes my social
    security number, date of birth, bank account information, and home address. At
    the Department of Education, this information includes my social security
    number, bank records, tax returns, home address, employment data,
    documentation of marital status, mortgage statements, child support,
    investments, family financial status and records, as well as divorce and
    demographic data, in addition to similar information for my family members.

9.​ I provided this personal information in order to access essential services like
    employment, disability payments, and funds to help with educational expenses.
    When I provided the information, I expected that the data would be used to
    facilitate my access to these services and only for legally authorized purposes. I
    also expected that the government would zealously safeguard access to that
    information.

10.​I feel that my right to privacy has been violated by the government’s choice to
    disclose information to DOGE representatives, who appear to be using it for
    purposes that have nothing to do with why I provided the data. I did not request
    disclosure of my personal information to DOGE representatives or provide
    written access authorizing such disclosure. My concerns are amplified because,
    based on news reports, at least some of the DOGE representatives are recent
    high school graduates or college students with a checkered history on data
    security. Further, I am concerned about the potential disclosure of my
    information to AI tools and software.

11.​Because of my previous military service in a geographically sensitive area and
    involvement in high-level negotiations, I was targeted by terrorists. Two of my
    interpreters were kidnapped and tortured, and I received multiple death threats.
    In light of that experience, I am worried that unauthorized access and disclosure
    of my personal information held within the federal government will
    compromise my personal safety and security. I also worry that it will
    compromise the safety and security of millions of other Americans.



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I declare under penalty of perjury that the foregoing is true and correct.

Executed: February 11, 2025.​ ​           ​       ​    ​

​     ​      ​      ​     ​      ​        ​       ____________/s/*___________
​     ​      ​      ​     ​      ​        ​       Donald Martinez

*Counsel hereby certifies that he has a signed copy of the foregoing document
available for inspection at any time by the court or a party to this action.




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